                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                              No. CR12-4060-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                CONCERNING PLEA OF GUILTY
 ARMANDO ALVARADO-CANEDO,
 a/k/a “Uptown”,
                 Defendant.
                                  ____________________


          On August 30, 2012, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered pleas of guilty to Counts One, Five, and Seven of the
Indictment. After cautioning and examining the defendant under oath concerning each of
the subjects mentioned in Rule 11, the court determined that the guilty pleas were
knowledgeable and voluntary, and the offenses charged were supported by an independent
basis in fact containing each of the essential elements of the offenses. The court therefore
RECOMMENDS that the pleas of guilty be accepted and the defendant be adjudged
guilty.
          At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement. He also was advised that in any such prosecution,
the Government could use against him any statements he made under oath.
          The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court inquired into the defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the



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influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.
From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The defendant acknowledged that he had received a copy of the Indictment, and he
had fully discussed these charges with his attorney.
       The court determined that the defendant was pleading guilty under a plea agreement
with the Government. After confirming that a copy of the written plea agreement was in
front of the defendant and his attorney, the court determined that the defendant understood
the terms of the plea agreement. The court then summarized the plea agreement, and made
certain the defendant understood its terms.
       The court explained to the defendant that because the plea agreement provided for
dismissal of charges if he pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the defendant would have an opportunity
to withdraw his pleas of guilty and change them to not guilty.
       The defendant was advised also that after his pleas were accepted, he would have
no right to withdraw the pleas at a later date, even if the sentence imposed was different
from what the defendant or his counsel anticipated.
       The court summarized the charges against the defendant, and listed the elements of
the crimes. The court determined that the defendant understood each and every element
of the crimes, ascertained that his counsel had explained each and every element of the
crimes fully to him, and the defendant’s counsel confirmed that the defendant understood
each and every element of the crimes charged.




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          The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Indictment to which the defendant was pleading
guilty.
          The court advised the defendant of the consequences of his pleas, including, for
each Count, the maximum fine, the maximum term of imprisonment, and the mandatory
minimum term of imprisonment.
          With respect to Count One, the defendant was advised that the maximum fine is
$10,000,000; the maximum term of imprisonment is life; the mandatory minimum term
of imprisonment is ten years; the maximum period of supervised release is life; and the
minimum period of supervised release is five years.
          With respect to Count Five, the defendant was advised that the maximum fine is
$10,000,000; the maximum term of imprisonment is 80 years; the mandatory minimum
term of imprisonment is five years; the maximum period of supervised release is life; and
the minimum period of supervised release is eight years.
          With respect to Count Seven, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is life; the mandatory minimum term of
imprisonment is five years; and the maximum period of supervised release is not more
than five years.
          Counts Three, Four and Six will be dismissed at sentencing.
          The defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $300.00, which the defendant must
pay. The defendant also was advised of the collateral consequences of a plea of guilty.
The defendant acknowledged that he understood all of the above consequences.
          The court explained supervised release to the defendant, and advised him that a term
of supervised release would be imposed in addition to the sentence of imprisonment. The
defendant was advised that there are conditions of supervised release, and that if he were


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found to have violated a condition of supervised release, then his term of supervised
release could be revoked and he could be required to serve in prison all or part of the term
of supervised release without credit for time previously served on supervised release.
         The court also explained to the defendant that the district judge would determine the
appropriate sentence for him at the sentencing hearing. The defendant confirmed that he
understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that he understood the sentence imposed might
be different from what his attorney had estimated. Defendant also acknowledges that his
plea agreement contains an appeal waiver, and he agrees to waive his appeal rights as set
out in that waiver. The defendant was advised that parole has been abolished.
         The defendant indicated he had conferred fully with his counsel and he was fully
satisfied with his counsel. The defendant’s attorney indicated the attorney had had full
access to the Government’s discovery materials, and they supported a factual basis for the
pleas.
         The defendant then was advised fully of his right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
         1.     The right to assistance of counsel at every stage of the pretrial and trial
                proceedings;
         2.     The right to a speedy, public trial;
         3.     The right to have his case tried by a jury selected from a cross-section of the
                community;
         4.     That he would be presumed innocent at each stage of the proceedings, and
                would be found not guilty unless the Government could prove each and
                every element of the offense beyond a reasonable doubt;
         5.     That the Government could call witnesses into court, but the defendant’s
                attorney would have the right to confront and cross-examine these witnesses;



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       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the fees and costs of
              bringing these witnesses to court, then the Government would be required
              to pay those fees and costs;
       8.     That the defendant would have the privilege against self incrimination; i.e.,
              he could choose to testify at trial, but he need not do so, and if he chose not
              to testify, then the court would instruct the jury that the defendant had a
              constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;
       10.    That he would have the right to appeal, and if he could not afford an attorney
              for the appeal, then the Government would pay the costs of an attorney to
              prepare the appeal.
       The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights
just described, and he would be adjudged guilty without any further proceedings except for
sentencing.
       The defendant then confirmed that his decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises; no one had
promised him what the sentence would be; and his decision to plead guilty was not the
result of any threats, force, or anyone pressuring him to plead guilty.
       The defendant then confirmed that he still wished to plead guilty, and he pleaded
guilty to Counts One, Five and Seven of the Indictment.
       The court finds the following with respect to the defendant’s guilty plea:
       1.     The guilty plea is voluntary, knowing, not the result of force, threats or
              promises, except plea agreement promises, and the defendant is fully
              competent.
       2.     The defendant is aware of the maximum punishment.
       3.     The defendant knows his jury rights.


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       4.     The defendant has voluntarily waived his jury rights.
       5.     There is a factual basis for the plea.
       6.     The defendant is, in fact, guilty of the crimes to which he is pleading guilty.
       The defendant has executed a Consent to the Court’s Inspection of Presentence
Report Prior to Guilty Plea. The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant was
told that he and his counsel would have an opportunity to read the presentence report
before the sentencing hearing and to object to the contents of the report, and he and his
counsel would be afforded the opportunity to present evidence and be heard at the
sentencing hearing.
       The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar him from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s pleas of guilty. A copy of this Report
and Recommendation was served on the defendant and his attorney at the conclusion of the
proceeding.
       DONE AND ENTERED at Sioux City, Iowa, this 30th day of August, 2012.




                                          ________________________________
                                          LEONARD T. STRAND
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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